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8
9                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
     NATURAL-IMMUNOGENICS                 Case No. 8:15-cv-02034-JVS (JCG)
12   CORP.,                               JAMs Ref. No: 1220055347
13
                        Plaintiff,        PLAINTIFF NIC’S LR 37-2
14         v.                             SUPPLEMENTAL BRIEF IN
                                          SUPPORT OF NIC’S MOTION TO
15                                        COMPEL DEPOSITION OF NTG’S
     NEWPORT TRIAL GROUP, et al.,         30(b)(6) DESIGNEE
16
17                     Defendants.
                                          Judge:          Hon. James V. Selna
18                                        Special Master: Hon. Andrew Guilford
19
                                                          (Ret.)

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1             Plaintiff Natural-Immunogenics Corp. (“NIC”) hereby submits its L.R. 37-2
2    Supplemental Brief in Support of NIC’s Motion to Compel the Deposition of
3    Defendant Newport Trial Group’s 30(b)(6) Designee. See Dkt. 1064. Defendants
4    have failed to justify avoidance of the NTG 30(b)(6) deposition, or limitation on
5    the noticed topics. Defendants concede that, were NIC to take the deposition, it
6    will require more than the presumptive 7-hour limit. The Court should grant NIC’s
7    Motion to Compel and For Leave to Extend the Presumptive Time-Limit to 14
8    hours.
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        A. Rule 16 Is Irrelevant
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              1. The District Court Has Already Granted NIC Leave under Rule 16
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              At the initial Rule 16 Conference, Judge Selna expressly stated NIC had the
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     right to depose every defendant and seven non-parties. Dkt. 1064-9 at 6 (Tr. 5:20-
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     25). In his Order at Docket No. 447, Judge Selna ruled that, if NIC had not
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     deposed certain Defendants before the discovery cut-off (because of still-pending
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     privilege disputes), the Court would allow those depositions once NIC received
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     privilege rulings (even if after the cut-off). Dkt. 447 at 3-4. On January 22, 2018,
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     Defendants’ counsel confirmed on the record that NIC could take depositions of
18
     the NTG Defendants without leave following the resolution of privilege issues.
19
     Dkt. 1064-8 at 64 (Tr. 63:5-7). NIC was thus not required to seek leave to take the
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     NTG 30(b)(6) deposition because the Court already granted NIC permission to
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     take the deposition.
22
              As an initial matter, Defendants fail to explain why NTG ought be treated
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     differently than the other “NTG Defendants” in post-privilege discovery. They
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     offer no tenable distinction between NTG and the others: Scott Ferrell, Ryan
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     Ferrell, David Reid, or Victoria Knowles. The Court expressly authorized NIC to
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     take the depositions of every defendant. Dkt. 1064-9 at 6 (Tr. 5:20-25). The Court
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     held it reasonable for NIC to delay defendant depositions until after it received
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1    critical documents subject to privilege disputes. Dkt. 447 at 3-4. Defendants do
2    not explain why the Court’s perspective on this issue only applies to the individual
3    defendants, not the corporate defendant. Defendants permitted without objection
4    the depositions of individual NTG defendants in 2020 following the Court’s
5    privilege orders, including Knowles and R. Ferrell. Defendants instead depend on
6    a false narrative, an assumed exclusion of the corporate defendant from discovery
7    in prior proceedings. That assumption is false, and there is no record support for it.
8    To the contrary, the two Orders on this issue support NIC’s instant motion. See
9    Dkt. 1064-9 at 6 (Tr. 5:20-25); see also Dkt. 447 at 3-4 (permitting deposing the
10   remaining defendants following issuance of the privilege orders).
11         NTG’s motivation for avoiding the 30(b)(6) deposition is obvious. The
12   corporate defendant must prepare, and its testimony is binding, meaning the
13   testimony is potentially critical in this case. NTG takes the unreasonable position
14   that NIC waived its right to depose the most central Defendant in this case because
15   NIC did not file an unnecessary Rule 16 motion to take the deposition.
16   Defendants’ counsel represented to the Court that NIC could depose the “NTG
17   Defendants.” Dkt. 1064-8 at 64 (Tr. 63:5-7). They now argue she did not mean
18   what she said. Dkt. 1064 at 41-43. Counsel made appearances at that hearing and
19   declared on whose behalf they appeared:
20
           MR. SUSOLIK: Good afternoon, Your Honor. Edward Susolik
21         on behalf of the NTG defendants.
22
           MS. SPERBER: Good afternoon, Your Honor.                Stephanie
23         Sperber on behalf of the NTG defendants.
24
           MR. DARNELL: Good afternoon, Your Honor. David Darnell
25
           on behalf of the NTG defendants.
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        PLAINTIFF NIC’S LR 37-2 SUPPLEMENTAL BRIEF IN SUPPORT OF NIC’S MOTION TO COMPEL
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1    See Dkt. 1064-8 at 4 (Tr. 3:5-12). Those three attorneys represented Defendants
2    NTG, Scott Ferrell, Ryan Ferrell, David Reid, and Victoria Knowles, the very
3    same described as the “NTG Defendants” in every single brief filed before the
4    Court for the preceding 3 years. Dkt. 1064 at 11, n. 3 (collecting docket cites).
5    They consistently defined “NTG Defendants” to include all of their clients. NTG’s
6    argument that Stephanie Sperber did not mean to include Defendant NTG when
7    she referred to “NTG Defendants” at hearing lacks credibility. NTG stated on the
8    record that the Court’s prior orders permitted NIC to depose NTG following the
9    privilege orders. That position consists with the Court’s intent to allow NIC post-
10   privilege depositions of all NTG Defendants.
11
           2. Defendants’ Arguments Regarding Delay Should be Rejected
12         Because NIC was given leave in open Court to take the remaining NTG
13   Defendants’ depositions after receiving privilege orders, the Rule 16 factors do not
14   apply. Delay is only relevant to a Rule 16 motion, inapplicable here, and not to a
15   motion to compel.1 Having been given leave by the court, whether NIC diligently
16   pursued relief under Rule 16 is irrelevant.
17         In any event, NIC did not unreasonably delay. NIC prioritized depositions
18   based on the availability of documents because document productions have been
19   extraordinarily delayed in this case. See Dkt. 447 at 3-4 (Judge Selna stated that
20   delay of depositions until receipt of documents is reasonable). The only
21   defendants not yet deposed are NTG, Scott Ferrell, and David Reid. That is
22   because NIC has still not received all documents on key issues in this case,
23
24         1
             A Rule 16 motion for leave to take discovery considers the diligence of the
25   moving party. Patton v. Dollar Tree Stores, Inc., 2017 WL 8233882, at *1 (C.D.
     Cal. Mar. 28, 2017), aff'd sub nom. Guillen v. Dollar Tree Stores, Inc., 769 F.
26
     App'x 461 (9th Cir. 2019). By contrast, the standard on a motion to compel does
27   not consider delay or diligence. See Fed. R. Civ. P. 37(a)(3); see also Fed. R. Civ.
28
     P. 26(b)(2)(C).
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1    including NTG’s use of “Strataluz LLC” to file sham lawsuits—an issue that
2    largely involves those three defendants. The Special Master is set to hear
3    Strataluz-related issues on November 19, 2020. The extraordinary delay in NIC
4    receipt of relevant documents has been a substantial factor preventing those
5    depositions.
6          In an effort to resolve the issue in time for trial, NIC served its original
7    30(b)(6) notice in February 2020. Dkt. 1064-1 at ¶ 2. The parties extensively met
8    and conferred on the topics after NTG outright refused to make a single witness
9    available. Id. at ¶ 3-6. NIC prepared an Amended Notice. Id. at ¶ 7, see also Dkt.
10   1064-8. Meanwhile, in March 2020, the Covid-19 pandemic struck bringing
11   uncertainty to the in-person depositions scheduled, requiring additional conferrals.
12   Then, in August 2020, Special Master Rosalyn Chapman resigned, and the parties
13   were without a discovery judge for nearly three months. Although the meet and
14   confer process failed, NIC could not advance this motion without a discovery
15   judge. Thus, while NIC has not delayed at all because it has yet to receive all
16   documents under the Court’s privilege orders, the alleged delay suggested by
17   Defendants is fictive. There was no unreasonable delay.
18
        B. NIC’s Topics Are Not Overbroad, Excessively Burdensome, or
19         Disproportionate to the Needs of this Case
20         This RICO case involves 13 defendants, 9 predicate suits, more than 70
21   predicate acts, and conduct over 6 years. See generally Dkt. 1007. NTG is the hub
22   of the RICO enterprise, directly involved in fifty (50) of the predicate acts alleged.
23   Id. at ¶¶ 427-35. There is substantial ground to cover at a 30(b)(6) deposition of
24   NTG. But simply because a witness possesses information covering many topics
25   does not render pursuit of that relevant information overly burdensome. To keep
26   the scope of this deposition reasonable, NIC included subject matter limits
27   throughout the noticed topics. See generally Dkt. 1064-4 (limiting topics to “SAC
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1    Cases” which are expressly within the scope of discovery). NIC also modified its
2    Amended Topics, making examination areas tailored and specific. Id. (limiting
3    topics to communications on very specific issues in the case like “settlement
4    discussions” or client retention).
5          Defendants argue NIC’s Amended Notice is not proportional to case needs.
6    They rely on the Court’s order regarding voluminous in camera review of more
7    than one thousand documents. Dkt. 1064 at 51-54. But that order’s evaluation of
8    burden concerned specific added burdens on the Court, not on the parties. In that
9    instance, the Court evaluated whether the burden of a voluminous in camera
10   review was appropriate given limited Court resources and the amount of litigation
11   the Court had yet to resolve. See Dkt. 788 at 12 (“the circumstances of this case
12   have changed vis-à-vis the disproportionate amount of judicial resources that this
13   case has and will continue to consume.”). The Court has since ordered discovery
14   into many other areas, including an order compelling in camera review of another
15   several hundred files. See Dkt. Nos. 902 and 1049. The instant motion does not
16   involve an added burden on the Court. The discovery is tailored and reasonable
17   because it applies only to the acquisition of highly relevant evidence possessed by
18   the corporate defendant at the heart of a complex RICO enterprise. The topics
19   noticed in NIC’s Amended Notice are proportional to case needs and do not
20   impose a burden beyond what is expected of a party in NTG’s position.
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        PLAINTIFF NIC’S LR 37-2 SUPPLEMENTAL BRIEF IN SUPPORT OF NIC’S MOTION TO COMPEL
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1    DATED: November 17, 2020
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3                                          Respectfully submitted,
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5
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9                                          Corp.
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       PLAINTIFF NIC’S LR 37-2 SUPPLEMENTAL BRIEF IN SUPPORT OF NIC’S MOTION TO COMPEL
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1                             CERTIFICATE OF SERVICE
2          I hereby certify that on November 17, 2020, the foregoing, PLAINTIFF
3    NIC’S LR 37-2 SUPPLEMENTAL BRIEF IN SUPPORT OF NIC’S
4    MOTION TO COMPEL DEPOSITION OF NTG’S 30(b)(6) DESIGNEE was
5    electronically filed via email to the Special Master and sent via email to the
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